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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:11CR127
                                                  )
       vs.                                        )             ORDER
                                                  )
JOSE LUIS RIVERA,                                 )
                                                  )
                     Defendant.                   )



       This matter is before the court on the report from Pretrial Services of defendant Jose
Luis Rivera’s unsatisfactory discharge from Bristol Station (Filing No. 73).        Rivera’s
participation in treatment at Bristol Station was a condition of his release (Filing No. 52).
Accordingly, Rivera’s conditions of release are revoked.
       IT IS ORDERED:
       1.     The defendant is committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable, from
              persons awaiting or serving sentences or being held in custody pending
              appeal.
       2.     The defendant shall be afforded reasonable opportunity for private
              consultation with counsel.
       3.     On order of a court of the United States, or on request of an attorney for the
              government, the person in charge of the corrections facility in which the
              defendant is confined shall deliver the defendant to a United States Marshal
              for the purpose of an appearance in connection with a court proceeding.


       DATED this 22nd day of September, 2011.


                                                  BY THE COURT:


                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
